                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                     Judge Gordon P. Gallagher

Civil Action No. 25-cv-01741-NYW

SUSANNA DVORTSIN, as Next Friend of Hayam El Gamal et al.,

        Petitioner,

v.

KRISTI NOEM, Secretary of U.S. DEPARTMENT OF HOMELAND SECURITY (“DHS”);
TODD LYONS, Acting Director of Immigration and Customs Enforcement (“ICE”); and
JOHN FABBRICATORE, ICE, Denver Field Office Director;

        Defendants.


                                                   ORDER


        Before the Court is Petitioner’s Ex Parte Application for Temporary Restraining Order and

Order to Show Cause (TRO) (D. 2). 1

        The Court finds it appropriate for these preliminary proceedings for Petitioner to proceed

as next-friend because the filings indicate that there is no means to contact Hayem El Gamal and

Petitioner has a significant relationship to her (D. 1 at 3). See Whitmore v. Arkansas, 495 U.S.

149, 163–64 (1990).

        Pursuant to the All Writs Act, 28 U.S.C. § 1651(a) and Fed. R. Civ. P. 65(b), and in order

to preserve the Court’s jurisdiction, Defendants SHALL NOT REMOVE Hayem El Gamal and

her five children from the District of Colorado or the United States unless or until this Court or the



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  This TRO is being handled on an emergency basis by the Undersigned due to its urgency and an ongoing jury trial
resulting in the unavailability of U.S. District Judge Nina Y. Wang.
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Court of Appeals for the Tenth Circuit vacates this Order. See also Vizguerra-Ramirez v. Choate,

et. al, Case No. 1:25-cv-881, D. Colo., ECF No. 11 at 4-5 (collecting cases); F.T.C. v. Dean Foods

Co., 384 U.S. 597, 603 (1966); Local 1814, Int’l Longshoremen’s Ass’n v. New York Shipping

Ass’n, 965 F.2d 1224, 1237 (2d Cir. 1992). Moreover, the Court finds that deportation without

process could work irreparable harm and an order must issue without notice due to the urgency

this situation presents (see D. 1 at 3 n.2, n.3).

        To the extent they have not yet done so, no later than today, June 4, 2025, Petitioner’s

counsel is directed (1) to serve Respondents with a copy of the Petition (D. 1), TRO motion and

accompanying papers, along with a copy of this Order, by e-mail to the United States Attorney’s

Office for the District of Colorado and by overnight mail; and (2) to promptly file proof of such

service on the docket. Counsel for Defendants shall promptly enter notices of appearance.

Petitioner is ORDERED to file her memorandum in support               by FRIDAY, June 6, 2025.

Defendants are further ORDERED to respond to Petitioners’ TRO motion by WEDNESDAY June

11, 2025. See, e.g., Gurchiani v. Garland, No. 23-9588, 2025 WL 46446, at *5 n.11 (10th Cir.

Jan. 8, 2025) (noting the “importance of adversarial briefing”). The parties are hereby ORDERED

to appear for a hearing on Petitioner’s TRO motion on FRIDAY, June 13, 2025, at 1:00 p.m. in

Courtroom 202 of the Byron G. Rogers Courthouse.

        DATED June 4, 2025 2:01 PM.

                                                        BY THE COURT:




                                                Gordon P. Gallagher
                                                United States District Judge

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